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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION

   CHRISTOPHER BREARLEY,

                               Plaintiff,

   vs.                                               Case No. 5:14-cv-625-Oc-34PRL

   JPMORGAN CHASE BANK, N.A.,

                         Defendant.
   _____________________________________/


                                     ORDER OF DISMISSAL

           This matter is before the Court on the Joint Stipulation of Dismissal With Prejudice

   (Dkt. No. 40; Stipulation) filed on June 2, 2015. In the Stipulation, the parties request

   dismissal of this matter with prejudice. See Stipulation at 1. Accordingly, it is hereby

   ORDERED:

           1.    This case is DISMISSED with prejudice.

           2.    Each party shall bear their own attorney’s fees, costs and expenses.

           3.    The Clerk of the Court is directed to terminate all pending motions and close

   the file.

           DONE AND ORDERED in Chambers, this 3rd day of June, 2015.
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   ja

   Copies to:

   Counsel of Record




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